                                      Case 15-12976-RGM              Doc 49      Filed 07/20/16 Entered 07/20/16 12:09:57                       Desc
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                               UNITED STATES BANKRUPTCY COURT
                                                    EASTERN DISTRICT OF VIRGINIA
                                                        ALEXANDRIA DIVISION

In re: MICHELLE NAOMI CAMPBELL-THOMAS                                                                 Case No.: 15-12976-RGM

                Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Thomas P. Gorman, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 08/27/2015.
2) The plan was confirmed on 10/30/2015.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 05/05/2016.
5) The case was dismissed on 05/10/2016.
6) Number of months from filing or conversion to last payment: 4.
7) Number of months case was pending: 11.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:             $750.00
       Less amount refunded to debtor:                           $.00
 NET RECEIPTS:                                                                    $750.00

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                  $724.25
       Court Costs:                                                                $.00
       Trustee Expenses and Compensation:                                        $25.75
       Other:                                                                      $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $750.00

 Attorney fees paid and disclosed by debtor:               $500.00




 Scheduled Creditors:
Creditor                                                     Claim             Claim            Claim         Principal           Interest
Name                                        Class            Scheduled         Asserted         Allowed       Paid                Paid

ALLIED CREDIT                               Unsecured             122.00             NA              NA              .00                 .00
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                          UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF VIRGINIA
                                            ALEXANDRIA DIVISION

In re: MICHELLE NAOMI CAMPBELL-THOMAS                                              Case No.: 15-12976-RGM

              Debtor(s)

                  CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
ALLIED CREDIT                    Unsecured          122.00           NA           NA             .00                 .00
DERICK COBY                      Unsecured              NA           NA           NA             .00                 .00
JPMORGAN CHASE BANK, N.A.        Secured           2,500.00     4,704.30     4,704.30            .00                 .00
LANSDOWNE ON THE POTOMAC HOA, INC.
                               Unsecured           3,000.00     4,042.54     4,042.54            .00                 .00
LESCOLL                          Unsecured          104.00           NA           NA             .00                 .00
MERIDIAN FINANCIAL SERVICE       Unsecured         3,643.00          NA           NA             .00                 .00
MIDLAND FUNDING LLC              Unsecured              NA      1,948.44     1,948.44            .00                 .00
MTGLQ INVESTORS, L.P.            Unsecured              NA    252,409.96   252,409.96            .00                 .00
OCEAN BEACH CLUB                 Unsecured              NA     17,732.32          .00            .00                 .00
OCWEN LOAN SERVICING             Unsecured              NA           NA           NA             .00                 .00
PROFESSIONAL ACCT MGMT IN        Unsecured          239.00           NA           NA             .00                 .00
TREASURER, COUNTY OF LOUDOUN     Secured                NA       971.76       971.76             .00                 .00
WELLS FARGO BANK                 Secured                NA      3,050.35     3,050.35            .00                 .00




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                                  UNITED STATES BANKRUPTCY COURT
                                                     EASTERN DISTRICT OF VIRGINIA
                                                         ALEXANDRIA DIVISION

In re: MICHELLE NAOMI CAMPBELL-THOMAS                                                                     Case No.: 15-12976-RGM

                 Debtor(s)

                     CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                       Claim               Claim          Claim          Principal           Interest
Name                                         Class             Scheduled           Asserted       Allowed        Paid                Paid

WESTGATE RESORTS                             Unsecured                  NA              NA               NA             .00                 .00

 Summary of Disbursements to Creditors:                                                           Claim          Principal           Interest
                                                                                                  Allowed        Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00              .00                 .00
     Mortgage Arrearage:                                                                               .00              .00                 .00
     Debt Secured by Vehicle:                                                                     7,754.65              .00                 .00
     All Other Secured:                                                                             971.76              .00                 .00
 TOTAL SECURED:                                                                                   8,726.41              .00                 .00

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                         .00            .00                 .00
     Domestic Support Ongoing:                                                                           .00            .00                 .00
     All Other Priority:                                                                                 .00            .00                 .00
 TOTAL PRIORITY:                                                                                         .00            .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                   258,400.94               .00                 .00

 Disbursements:
        Expenses of Administration:                                                                $750.00
        Disbursements to Creditors:                                                                   $.00
 TOTAL DISBURSEMENTS:                                                                                                                 $750.00

     12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
     foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
     The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:      07/20/2016                                      By:   /s/Thomas P. Gorman
                                                                                   Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. Section 1320.4(a)(2) applies.


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